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Attorneys for Defendant
ARAMARK Sports and Entertainment
Services, LLC

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
BRIAN MARTIN,
Plaintiff,
v.
MCKINLEY CHALET RESORT, LLC

and ARAMARK SPORTS AND
ENTERTAINMENT SERVICES LLC,

Case NO. 3:12~€v~§§:§§§!;:&:;

Defendants.

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NOTICE OF REMOVAL

 

TO: The United States District Court
For the District cf Alaska

1. On cr about August 20, 2012, Plaintiff filed a
COmplaint in the Superior Court for the State cf Alaska, Third
Judicial District at Anchorage, Brian Martin V. MCKinley
Chalet Resort, LLC and Aramark Sports and Entertainment
Services, LLC, and that action Was assigned Case NO. 3AN-12~

9249 CI. Plaintiff seeks damages against the Defendants under

Martin v. McKinley Chalet Rescrt, LLC, et al.

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Case No. 3:12-cv~ §,‘ij§§§ 'J (/U§ Page 1 of 4

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the theory of negligence. Plaintiff also makes a claim for
punitive damages.

2. Defendant, ARAMARK Sports and Entertainment
Services, LLC, hereby files this Notice of Removal to remove
this action to the United States District Court for the
District of Alaska at Anchorage, pursuant to 28 U.S.C. § 1446.

3. In compliance With 28 U.S.C. § 1446(a), a copy of
all pleadings served. upon Defendant in the Superior Court
action are attached hereto with Defendant’s Notice of Filing
to the Court.

4. Defendant has filed a copy of this Notice With the
Clerk of the Superior Court, Third Judicial District at
Anchorage, and said action has thereby been removed from the
Superior Court to the United States District Court. See
attached Exhibit A ("Notice to Superior Court of Removal to
U.S. District Court").

5. Pursuant to 28 U.S.C. § 1446(d), Defendant has also
filed. and served upon. Plaintiff a Notice of Removal. See

attached Exhibit B.

6. The grounds for removal are as follows: The amount
in controversy exceeds the sum of S75,000. There exists a
diversity of citizenship, 28 U.S.C. § 1332(a)(1). Plaintiff

Martin v. McKinley Chalet Resort, LLC, et al.

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is an Alaskan residentl; Defendant, ARAMARK Sports and
Entertainment LLC is a Delaware limited liability company
doing business in Alaska with its principal place of business
in Phiiadeiphia, PA. 2

7. Plaintiff has also named McKinley Chalet Resort, LLC
as a Defendant in this action. However, the McKinley Chalet
Resort is not a separate legal entity capable of being named
in this suit. The McKinley Chalet Resort is the name of the
lodge/hotel operated by ARAMARK Sports & Entertainment LLC in
Denali National Park corridor. Accordingly, the caption for
this matter should be amended to reflect the named defendant
as ARAMARK Sports & Entertainment LLC.

8. ARAMARK Sports & Entertainment LLC is the proper
entity to be named in this lawsuit and any potential judgment
rendered in favor of Plaintiff based on the allegations
contained in the Complaint would be satisfied by ARAMARK
Sports & Entertainment LLC,

9. This removal is being filed within thirty (30) days
after service of process. Suit was filed. by Plaintiff in

Alaska Superior Court, Third Judicial District at Anchorage,

 

1 See Plaintiff's Complaint, Tl.
2 See attached Exhibit C (copy of Corporate Information from Division of
Corporation, Business and Professional Licensing).

Martin v. McKinley Chalet Resort, LLC, et al.
Notice of Removal

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on or about August 20, 2012. Defendant was served on or about
August 22, 2012.3

Defendant reserves the right to amend or supplement this
Notice of Removal.

WHEREFORE, ARAMARK Sports and Entertainment Services,
LLC, hereby removes the action now pending against it in the
Superior Court for the State of Alaska at Anchorage to this
Court.

Dated this llth day of September, 2012 at Anchorage,
Alaska.

LANDYE BENNETT BLUMSTEIN LLP
Attorneys for Defendant ARAMARK
Sports and Entertainment Services,
LLC

s/Adolf V. Zeman

Adolf V. Zeman

Alaska Bar No.: 411082

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Certificate of Service

 

On September 11, 2012 a true and correct copy of the
foregoing document was served by U.S. mail and electronically on:

Thomas S. Gingras

Eide & Gingras PC

425 G St., Ste. 930

Anchorage, AK 99501
(thomas.gingras@egpalaska.com)

 

/s/Adolf V. Zeman
Adolf V. Zeman

 

 

3 See attached Exhibit D (Service of Process Transmittal document).

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